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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 CIARA VESEY,
                                                       CIVIL ACTION NO. ________
         PLAINTIFF,
                                                       HON. _________________
         VS.

 ENVOY AIR, INC. d/b/a AMERICAN EAGLE
 AIRLINES, INC,

        DEFENDANT.
 _____________________________________________/

                                           COMPLAINT

         PLAINTFF, CIARA VESEY, by and through her attorneys, CARLA D. AIKENS, P.C.,

 submits the following Complaint against DEFENDANT ENVOY AIR INC. (“Envoy”).

                                          JURY DEMAND

         COMES NOW PLAINTIFF, CIARA VESEY, and hereby makes her demand for trial by

 jury.

                                          JURISDICTION

1.       At all times relevant to this action, Plaintiff was a resident of Scott County in the State

         of Iowa.

2.       Defendant Envoy Air Inc. is a Delaware corporation with a continuous and systematic

         place of business in Chicago, Illinois.

3.       This action is brought in this Court on the basis of federal question jurisdiction, pursuant

         to Title VII of the Civil Rights Act of 1964, 42 USC 2000e et seq.

4.       Pursuant to 28 U.S.C. §1367, this Court has supplemental jurisdiction over Plaintiff’s

         state law claims.



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                                               VENUE

5.    Venue is proper in the Northern District of Illinois pursuant to Section 706(f)(3) of Title

      VII, 42 U.S.C. § 2000e-5(f)(3), because Defendant has its principle office in this district.

                                 STATEMENT OF FACTS

6.    Ms. Vesey was hired by Defendant as a station agent on July 2, 2012.

7.    Ms. Vesey was successful at her job.

8.    On or around February 25, 2016, and again on or around March 22, 2016, Ms. Vesey

      levied a complaint about Defendant’s racially motivated selection for hiring and training

      opportunities to Defendant’s Human Resources Department.

9.    No formal action was taken with regard to these complaints.

10.   On August 15, 2016, in front of fellow co-workers, Ms. Vesey’s colleague, Eric

      Masengarb, told Ms. Vesey that she should, “stop playing the race card and go back and

      pick cotton.”

11.   Shortly thereafter, Ms. Vesey formally reported this incident to Defendant’s Human

      Resources Department.

12.   Upon information and belief, Defendant’s lead agent and Ms. Vesey’s direct supervisor,

      Carrie McMurray, and Mr. Masengarb were having an affair.

13.   After Ms. Vesey reported this incident, despite the fact that Ms. McMurray was

      Plaintiff’s direct supervisor, and they worked together twice a week, Ms. McMurray

      would avoid Ms. Vesey and refused to speak to her.

14.   An investigation into the August 15, 2016 incident ensued, and eventually, Mr.

      Masengarb was terminated for the egregious behavior.




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15.   After Mr. Masengarb was fired, Ms. McMurray told her fellow lead station agent, Ashley

      Emerick, that it was Ms. McMurray’s opinion that Plaintiff “set Eric [Masengarb] up.”

16.   Moreover, Ms. McMurray explicitly told Ms. Emerick that she wanted Ms. Vesey fired.

17.   At the end of August, Jared McMurray, Ms. McMurray’s husband and a non-employee

      third-party, approached Ms. Vesey’s colleague, John Stinocher, and informed him that he

      knew the exact nature of Ms. Vesey’s complaint against Mr. Masengarb and then

      expressed disappointment that Mr. Stinocher cooperated with the investigation.

18.   On August 31, 2016, Ms. Vesey e-mailed Danielle Griffen, Defendant’s Human

      Resources Legal Representative, to express the disappointment she had in Defendant’s

      blatant disregard of its duty to keep her complaints confidential.

19.   Moreover, in that correspondence, Ms. Vesey informed Ms. Griffen of the intimidation

      by fellow employees she was being forced to endure as a result of this leak of

      confidential information.     She finished by explaining how this violation of her

      confidentiality rights is directly contradictory to the purpose of the system Defendant has

      in place to combat that very type of harassment and intimidation.

20.   On or around October 3, 2016 Defendant’s Human Resource Department began

      investigating Ms. Vesey for alleged “travel abuse,” at Ms. McMurray’s order.

21.   Ms. McMurray also participated in the investigation of her complaint, which included

      working on Ms. Vesey’s investigation during non-work hours.

22.   Upon information and belief, Ms. McMurray further refused to pick up any shifts until

      Ms. Vesey was fired.

23.   On or around October 4, 2016, Ms. Vesey filed a complaint with Defendant’s Human

      Resources Department against Ms. McMurray.



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24.   There was no formal disciplinary action taken with regard to Ms. Vesey’s October 4,

      2016 complaint.

25.   On October 11, 2016, Ms. Vesey was interrogated for two hours by Defendant’s Human

      Resource Department regarding her alleged “travel abuse.”

26.   On or around October 12, 2016, Ms. Vesey’s colleague informed her that her general

      manager, Teresa White, told the general manager at Defendant’s Champaign, Illinois

      location that Ms. Vesey had “reported [her] as being prejudiced,” because of the way she

      previously handled her discriminatory treatment.

27.   On October 12, 2016, Ms. Vesey filed a charge of discrimination with the Illinois

      Department of Human Rights (“IDHR”) against Defendant, and was given Charge

      Number 2017-SN-0872.

28.   In her charge of discrimination, Ms. Vesey noted the harassment and discrimination that

      she faced based upon her race, the retaliation she was facing because of her attempts to

      quell this harassment and discrimination, as well as how that the retaliation, harassment,

      and discrimination had culminated in a hostile workplace environment.

29.   On October 25, 2016, Ms. Vesey received a letter from Defendant claiming that its

      investigation into her October 4, 2016 complaint against Ms. McMurray had concluded

      and her allegations were “unsubstantiated.”

30.   On October 27, 2016, Defendant informed Ms. Vesey of its decision to terminate her as a

      result of Ms. McMurray’s complaint.

31.   Defendant alleged that the basis of Ms. Vesey’s termination stemmed from two incidents

      in which she allegedly accessed and modified a travel reservation against company

      policy.



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32.   Ms. Vesey was never warned nor given a corrective action for this alleged conduct.

33.   This was Ms. Vesey’s first reprimand for “abuse of travel privileges.”

34.   At the time of Ms. Vesey’s termination, she was the most senior non-management

      employee at Defendant’s Moline, Illinois location.

35.   Upon information and belief, a large number of Defendant’s employees actually violate

      their travel privileges; however, none are fired for negligible violations, and some are not

      even reprimanded.

36.   On October 27, 2016, Ms. Vesey, filed a grievance against Defendant for violating its

      own policy during Ms. Vesey’s termination.

37.   After Ms. Vesey’s termination, the retaliation did not end because Defendant denied Ms.

      Vesey’s claim of unemployment benefits and challenged her appeal.

38.   On or around November 1, 2016, the IDHR notified Ms. Vesey of her civil suit rights

      and that her suit had been filed with the Equal Employment Opportunity Commission

      (“EEOC”).

39.   In December of 2016, Ms. Vesey filed her second level grievance with Defendant, in

      hopes of stopping the retaliatory treatment she was facing at work in an attempt to regain

      her career.

40.   On or around January 25, 2017, Ms. Vesey again filed a complaint with the IDHR

      regarding the continual retaliation she was facing because of her attempts to hold

      Defendant and its agents accountable for their harassment and discrimination, which was

      given Charge Number 2017-SF-1502.




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41.   On or around February 24, 2017, the IDHR notified Ms. Vesey that she may bring civil

      suit for Charge Number 2017-SF-1502 beginning on February 10, 2018. Exhibit A –

      IDHR Right to Sue.

42.   On November 14, 2017, the EEOC issued to Ms. Vesey a Notice of her Right to Sue

      with regard to her IDHR Charge No. 2017-SN-0872. Exhibit B – EEOC Right to Sue

      Notice.

43.   Ms. Vesey requests relief as described in the Prayer for Relief below.

                                   COUNT I
                     RETALIATION IN VIOLATION OF TITLE VII

44.   Ms. Vesey incorporates by reference all allegations in the proceeding paragraphs.

45.   At all material times, Defendant was an employer covered by, and within the meaning of,

      Title VII of the Civil Rights Act of 1964 (Title VII), as amended.

46.   At all material times, Ms. Vesey was an employee covered by, and within the meaning of,

      Title VII of the Civil Rights Act of 1964 (Title VII), as amended.

47.   Defendant’s conduct, as alleged herein, violated Title VII of the Civil Rights Act of 1964,

      which makes it unlawful to harass or retaliate against an employee for engaging in

      protected activity.

48.   A respondeat superior relationship existed because Ms. McMurray and Ms. White had

      the ability to undertake or recommend tangible decisions affecting Ms. Vesey or the

      authority to direct Ms. Vesey’s daily work activity, as alleged in the statement of facts.

49.   Ms. Vesey engaged in protected activity when she took the following actions including

      but not limited filing union grievances, filing multiple complaints to the IDHR and the

      EEOC, and reporting her harassment and discrimination to Defendant’s Human

      Resources Department


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50.   Defendant, through its employees, had knowledge that Ms. Vesey engaged in protected

      behavior because Ms. Vesey gave direct notice to her supervisors.

51.   After Ms. Vesey engaged in protected activity, Defendant’s agents thereafter harassed Ms.

      Vesey and took several adverse employment actions against Ms. Vesey because of that

      activity, as alleged in the statement of facts and herein, subjecting Ms. Vesey to severe or

      pervasive retaliatory harassment by a supervisor, including but not limited to harassing

      and subsequently terminating Ms. Vesey because she engaged in protected activity.

52.   Defendant and its agents’ unlawful actions were intentional, willful, malicious and/or

      done with reckless disregard for Ms. Vesey’s rights.

53.   Ms. Vesey notified Defendants and its agents of the unwelcomed conduct or

      communication and Defendants failed to remedy the unwelcomed conduct or

      communication.

54.   As a proximate result of the Defendants’ retaliatory actions, Ms. Vesey has suffered

      losses in compensation, earning capacity, humiliation, mental anguish, and emotional

      distress.

55.   As a result of those actions and consequent harms, Ms. Vesey has suffered such damages

      in an amount to be proved at trial.

56.   Ms. Vesey requests relief as described in the Prayer for Relief below.

                              COUNT II
 RETALIATION IN VIOLATION OF THE ILLINOIS HUMAN RIGHTS ACT (“IHRA”)

57.   Ms. Vesey incorporates by reference all allegations in the proceeding paragraphs.

58.   At all material times, Defendant was an employer covered by, and within the meaning of,

      775 ILCS 5 et seq.




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59.   At all material times, Ms. Vesey was an employee covered by, and within the meaning of,

      775 ILCS 5 et seq.

60.   Defendant’s conduct, as alleged herein, violated The Illinois Human Rights Act, which

      makes it unlawful to retaliate against an employee because he or she has made a charge,

      filed a complaint, assisted, or participated in an investigation, proceeding, or hearing

      under the Act.

61.   A respondeat superior relationship existed because Ms. McMurray and Ms. White had

      the ability to undertake or recommend tangible decisions affecting Ms. Vesey or the

      authority to direct Ms. Vesey’s daily work activity, as alleged in the statement of facts.

62.   Defendant, through its employees, had knowledge that Ms. Vesey filed a charge, a

      complaint, and was assisting and participating in in the investigation to her claims because

      Ms. Vesey gave direct notice to her supervisors.

63.   After Ms. Vesey engaged in these protected activities, Defendant’s agents thereafter

      harassed Ms. Vesey and took several adverse employment actions against Ms. Vesey

      because of that activity, as alleged in the statement of facts and herein, subjecting Ms.

      Vesey to severe or pervasive retaliatory harassment by a supervisor, including but not

      limited to harassing and subsequently terminating Ms. Vesey because she engaged in

      protected activity.

64.   Defendant and its agents’ unlawful actions were intentional, willful, malicious and/or

      done with reckless disregard for Ms. Vesey’s rights.

65.   Ms. Vesey notified Defendants and its agents of the unwelcomed conduct or

      communication and Defendants failed to remedy the unwelcomed conduct or

      communication.



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66.    As a proximate result of the Defendants’ retaliatory actions, Ms. Vesey has suffered

       losses in compensation, earning capacity, humiliation, mental anguish, and emotional

       distress.

67.    As a result of those actions and consequent harms, Ms. Vesey has suffered such damages

       in an amount to be proved at trial.

68.    Ms. Vesey requests relief as described in the Prayer for Relief below.

                              COUNT III
      HARRASMENT-DISCRIMINATION ON THE BASIS OF RACE AND/OR SKIN
                   COLOR IN VIOLATION OF TITLE VII

69.    Ms. Vesey incorporates by reference all allegations in the proceeding paragraphs.

70.    At all material times, Defendant was an employer covered by, and within the meaning of,

       Title VII of the Civil Rights Act of 1964 (Title VII), as amended.

71.    At all material times, Ms. Vesey was an employee covered by, and within the meaning of,

       Title VII of the Civil Rights Act of 1964 (Title VII), as amended.

72.    Defendant’s conduct, as alleged herein, violated Title VII of the Civil Rights Act of 1964,

       which makes it unlawful to harass or discriminate against an employee for on the basis of

       their race or skin color.

73.    A respondeat superior relationship existed because Ms. McMurray and Ms. White had

       the ability to undertake or recommend tangible decisions affecting Ms. Vesey or the

       authority to direct Ms. Vesey’s daily work activity, as alleged in the statement of facts.

74.    Ms. Vesey is African American and a member of a protected class.

75.    Ms. Vesey was subjected to offensive communication or conduct on the basis of her

       membership in this protected class.




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76.   The Defendant and its agents’ unlawful actions were intentional, willful, malicious and/or

      done with reckless disregard for Ms. Vesey’s rights.

77.   Ms. Vesey notified Defendant and its agents of the unwelcomed conduct or

      communication and Defendant failed to remedy the unwelcomed conduct or

      communication.

78.   The unwelcomed conduct or communication was intended to or in fact did substantially

      interfere with the Ms. Vesey’s employment and created an intimidating, hostile, or

      offensive work environment, as alleged in the statement of facts.

79.   As a proximate result of the Defendants’ discriminatory actions, Ms. Vesey has suffered

      losses in compensation, earning capacity, humiliation, mental anguish, and emotional

      distress.

80.   As a result of those actions and consequent harms, Ms. Vesey has suffered such damages

      in an amount to be proven at trial.

81.   Ms. Vesey requests relief as described in the Prayer for Relief below.

                              COUNT IV
 RETALIATION IN VIOLATION OF THE ILLINOIS HUMAN RIGHTS ACT (“IHRA”)

82.   Ms. Vesey incorporates by reference all allegations in the proceeding paragraphs.

83.   At all material times, Defendant was an employer covered by, and within the meaning of,

      775 ILCS 5 et seq.

84.   At all material times, Ms. Vesey was an employee covered by, and within the meaning of,

      775 ILCS 5 et seq.

85.   Defendant’s conduct, as alleged herein, violated The Illinois Human Rights Act, which

      makes it unlawful to harass or discriminate against an employee on the basis of their race

      or skin color.


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86.   A respondeat superior relationship existed because Ms. McMurray and Ms. White had

      the ability to undertake or recommend tangible decisions affecting Ms. Vesey or the

      authority to direct Ms. Vesey’s daily work activity, as alleged in the statement of facts.

87.   Ms. Vesey is African American and a member of a protected class.

88.   Ms. Vesey was subjected to offensive communication or conduct on the basis of her

      membership in this protected class.

89.   The Defendant and its agents’ unlawful actions were intentional, willful, malicious and/or

      done with reckless disregard for Ms. Vesey’s rights.

90.   Ms. Vesey notified Defendant and its agents of the unwelcomed conduct or

      communication and Defendant failed to remedy the unwelcomed conduct or

      communication.

91.   The unwelcomed conduct or communication was intended to or in fact did substantially

      interfere with the Ms. Vesey’s employment and created an intimidating, hostile, or

      offensive work environment, as alleged in the statement of facts.

92.   As a proximate result of the Defendants’ discriminatory actions, Ms. Vesey has suffered

      losses in compensation, earning capacity, humiliation, mental anguish, and emotional

      distress.

93.   As a result of those actions and consequent harms, Ms. Vesey has suffered such damages

      in an amount to be proven at trial.

94.   Ms. Vesey requests relief as described in the Prayer for Relief below.

                                   COUNT V
                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

95.   Ms. Vesey incorporates by reference the allegations set forth above as if alleged herein.




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96.     Defendant, or Defendant’s agents, knew or reasonably should have known that the

        conduct described herein would and did proximately result in physical and emotional

        distress to Ms. Vesey.

97.     At all relevant times, Defendant, or Defendant’s agents, had the power, ability,

        authority, and duty to stop engaging in the conduct described herein and/or to intervene to

        prevent or prohibit said conduct.

98.     As a direct and proximate result of Defendant, or Defendant’s agents, unlawful conduct,

        Ms. Vesey has suffered and continues to suffer severe emotional distress, humiliation,

        anguish, emotional and physical injuries, as well as economic losses and compensatory

        damages in an amount to be proven at trial.

                                  COUNT VI
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

99.     Ms. Vesey incorporates by reference all allegations in the proceeding paragraphs.

100.    Defendant’s conduct as outlined above was intentional.

101.    Defendant’s conduct as outlined above was extreme, outrageous, and of such character as

        not to be tolerated by a civilized society.

102.    Defendant’s conduct as outlined above was for an ulterior motive or purpose.

103.    Defendant’s conduct resulted in severe and serious emotional distress.

104.    As a direct and proximate result of Defendant’s conduct, Plaintiffs have been damaged in

        the manner outlined above.

 As such, Ms. Vesey is entitled to relief as set forth below.




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                                         RELIEF REQUESTED

PLAINTIFF, CIARA VESSEY, RESPECTFULLY REQUESTS that this Honorable Court enter

judgment against Defendant as follows:

   1. Compensatory damages in whatever amount to which Ms. Vesey is entitled;

   2. Exemplary damages in whatever amount which Ms. Vesey is entitled;

   3. An award of lost wages and the value of fringe benefits, past and future;

   4. An award of interest, costs, and reasonable attorney fees; and

   5. An order awarding whatever other equitable relief appears appropriate at the time of final

       judgment.

Dated: February 12, 2018

                                            Respectfully Submitted,

                                            /s/ Carla D. Aikens_____________
                                            Carla D Aikens (P69530)
                                            Carla D. Aikens, P.C.
                                            Attorneys for Plaintiff
                                            615 Griswold Ste. 709
                                            Detroit, MI 48226
                                            carla@aikenslawfirm.com




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